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 Fill in this information to identify the case:

 Debtor name         Legacy Global Sports, L.P.

 United States Bankruptcy Court for the:            DISTRICT OF MASSACHUSETTS

 Case number (if known)         20-11157
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                   Gross revenue
       which may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                    exclusions)

       From the beginning of the fiscal year to filing date:                                        Operating a business                          approx.
       From 1/01/2020 to Filing Date                                                                                                         $4,000,000.00

                                                                                               Other


       For prior year:                                                                              Operating a business                   $55,886,538.00
       From 1/01/2019 to 12/31/2019
                                                                                               Other


       For year before that:                                                                        Operating a business                   $55,131,396.00
       From 1/01/2018 to 12/31/2018
                                                                                               Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue    Gross revenue from
                                                                                                                                    each source
                                                                                                                                    (before deductions and
                                                                                                                                    exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




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           None.

       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               See Appendix to SOFA Question No. 3                                                                                    Secured debt
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    See Appendix to SOFA Question No. 4


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    See Appendix to SOFA                                                                                                        Pending
               Question No. 7                                                                                                              On appeal
                                                                                                                                           Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.




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           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                    Description of the gifts or contributions                Dates given                        Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss         Value of property
       how the loss occurred                                                                                                                                lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates            Total amount or
                 the transfer?                                                                                                                           value
                 Address
       11.1.     Murtha Cullina LLP                                                                                            6/4/20,
                 99 High Street, 20th Floor                                                                                    6/8/20, 6/10,
                 Boston, MA 02110                                                                                              6/19                $131,942.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.2.     Stout Risius Ross
                 2005 Market Street, Suite
                 2040
                 Philadelphia, PA 19103                                                                                        6/1/20               $50,000.00

                 Email or website address


                 Who made the payment, if not debtor?




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                 Who was paid or who received                        If not money, describe any property transferred           Dates              Total amount or
                 the transfer?                                                                                                                             value
                 Address
       11.3.     Harrison Legal
                 19-20 Gramercy Park South                                                                                     5/19/20;
                 New York, NY 10003                                                                                            5/27                  $600,000.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.4.     Young Conaway
                 1000 North King Street                                                                                        5/18/20;
                 Wilmington, DE 19801                                                                                          5/22; 5/27            $340,369.00

                 Email or website address


                 Who made the payment, if not debtor?




       11.5.     Stretto
                 7 Times Square, 16th Floor
                 New York, NY 10036                                                                                            5/29/20                $20,000.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                   Date transfer            Total amount or
                Address                                         payments received or debts paid in exchange              was made                          value
       13.1 HOF Village Sports Business,
       .    LLC
                c/o HOF Village, LLC
                2626 Fulton Drive NW                            50% Membership interest in Youth Sports
                Canton, OH 44718                                Management, LLC                                          5/29/20                              $0.00

                Relationship to debtor
                Joint Venture Partner



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                Who received transfer?                          Description of property transferred or                   Date transfer            Total amount or
                Address                                         payments received or debts paid in exchange              was made                          value
       13.2 HOF Village Sports Business,
       .    LLC
                c/o HOF Village, LLC
                2626 Fulton Drive NW                            100% Membership in LGS Football &
                Canton, OH 44718                                Basketball, LLC                                                                               $0.00

                Relationship to debtor
                Joint Venture Partner


       13.3 First Scout, Inc.
       .    52 Lafayette Road, #3                               Personal property related to the
                North Hampton, NH 03862                         operation of First Scout Productions                     10/31/19                             $1.00

                Relationship to debtor




  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


            Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     290 Heritage Ave #2
                 Portsmouth, NH 03801

       14.2.     2950 W. Square Lake Rd.
                 Troy, MI 48098

       14.3.     1 High St. Ct.
                 Morristown, NJ 07960

       14.4.     85 Central Street
                 Waltham, MA 02453

       14.5.     3030 S 9th Street
                 Kalamazoo, MI 49009

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                      Nature of the business operation, including type of services             If debtor provides
                                                                the debtor provides                                                      meals and housing,
                                                                                                                                         number of patients in
                                                                                                                                         debtor’s care

 Part 9:       Personally Identifiable Information




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16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                   Customer names, addresses, phone numbers, emails address,
                   payment information
                   Does the debtor have a privacy policy about that information?
                      No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                       Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Legacy Global Sports LP 401(k) Profit Sharing Plan & Trust                                 EIN:

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

            None
               Financial Institution name and                   Last 4 digits of          Type of account or          Date account was            Last balance
               Address                                          account number            instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
       18.1.     See Appendix to SOFA                           XXXX-                         Checking
                 Question No. 18                                                              Savings
                                                                                              Money Market
                                                                                              Brokerage
                                                                                              Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


            None

       Depository institution name and address                         Names of anyone with               Description of the contents          Do you still
                                                                       access to it                                                            have it?
                                                                       Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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            None

       Facility name and address                                       Names of anyone with               Description of the contents         Do you still
                                                                       access to it                                                           have it?
       A-Verdi Storage Containers                                      Unknown                            Various hockey equipment,               No
       14150 Route 31                                                                                     apparel, signs and marketing            Yes
       Savannah, NY 13146                                                                                 material

       Life Storage                                                    Unknown                            Various hockey equipment,               No
       6467 Main Street                                                                                   apparel, signs and marketing            Yes
       Buffalo, NY 14221                                                                                  material

       Cubesmart Cube F51                                              Unknown                            Various Lacrosse equipment,             No
       307 East Hanover Avenue                                                                            apparel, signs and marketing            Yes
       Morristown, NJ 07960                                                                               material



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

          None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                      Court or agency name and           Nature of the case                  Status of case
       Case number                                                     address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                           Governmental unit name and             Environmental law, if known     Date of notice
                                                                       address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                           Governmental unit name and             Environmental law, if known     Date of notice
                                                                       address

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 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

            None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    See Appendix to SOFA                                                                              EIN:
             Question No. 25
                                                                                                               From-To


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       The Siegfried Group                                                                                                        May 2019 to March
                    1201 N. Market Street                                                                                                      2020
                    Wilmington, DE 19801

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

                None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       BDO USA LLP                                                                                                                2015 to May 2020
                    PO Box 642743
                    Pittsburgh, PA 15264-2743

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       BDO USA LLP
                    PO Box 642743
                    Pittsburgh, PA 15264-2743

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address
       26d.1.       Jefferson River Capital LLC
                    1330 Avenue of the Americas
                    New York, NY 10019
       26d.2.       Generation Capital LGS, LP
                    17 Prince Arthur Avenue
                    3rd Floor
                    Toronto, ON



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       Name and address
       26d.3.       The Provident Bank
                    5 Market Street
                    Amesbury, MA 01913
       26d.4.       Citizens Bank, N.A.
                    One Citizens Plaza
                    Providence, RI 02903

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       See Appendix to SOFA
       Question No. 28



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                          Address                                              Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       See Appendix to SOFA
       Question No. 29


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                   Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value
       30.1 See Appendix to SOFA
       .    Question No. 30


                Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.



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    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation
    See Appendix to SOFA Question No. 31                                                                       EIN:


32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         July 1, 2020

                                                                         Philip Silveira
 Signature of individual signing on behalf of the debtor                 Printed name

 Position or relationship to debtor         Chief Financial Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    No
    Yes




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                                         Appendix to SOFA Question No. 3
                                    Transfers within 90 days of the Petition Date

                                                     Transfer
Creditor                                               Date       Bank           Bank Account                 Amount
American Express                                     02/21/20   Provident       LGS LP Operating          $    50,000.00
                                                     03/04/20   Provident       LGS LP Operating          $   380,000.44
                                                     03/06/20   Provident       LGS LP Operating          $   282,400.13
                                                     03/09/20   Provident       LGS LP Operating          $    23,714.77
                                                     03/19/20   Provident       LGS LP Operating          $     7,500.00
                                                     03/23/20   Provident       LGS LP Operating          $     2,500.00
                                                     03/31/20   Provident       LGS LP Operating          $    11,049.99
American Express Total                                                                                    $   757,165.33
Harrison Legal                                       05/19/20 Provident         LGS LP Operating          $   400,000.00
                                                     05/27/20 Citizens           Main Operating           $   100,000.00
                                                     06/15/20 Citizens                                    $   100,000.00
Harrison Legal Total                                                                                      $   600,000.00
Young Conaway                                        05/18/20 Provident         LGS LP Operating          $   148,076.00
                                                     05/22/20 Provident         LGS LP Operating          $    32,293.00
                                                     05/27/20 Citizens           Main Operating           $   160,000.00
Young Conoway Total                                                                                       $   340,369.00
The Siegfried Group                                  02/24/20 Provident         LGS LP Operating          $    50,000.00
                                                     03/04/20 Provident         LGS LP Operating          $    50,000.00
                                                     03/06/20 Provident         LGS LP Operating          $   175,000.00
The Siegfried Group Total                                                                                 $   275,000.00
Vanbridge                                            06/15/20   Citizens                                  $   267,009.00
Vanbridge Total                                                                                           $   267,009.00
GPS Real Estate                                      02/21/20 Provident       GPS-New Hampshire           $    11,828.56
                                                     03/02/20 Provident       GPS-New Hampshire           $    11,520.00
                                                     03/12/20 Provident       GPS-New Hampshire           $   106,880.00
                                                     06/01/20 Citizens      DBA Global Premier Soccer     $    33,660.00
GPS Real Estate Total                                                                                     $   163,888.56
Cross Insurance                                      02/24/20 Provident         LGS LP Operating          $    75,000.00
                                                     05/28/20 Citizens           Main Operating           $    75,081.76
Cross Insurance Total                                                                                     $   150,081.76


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Pollack Solomon Duffy                              04/06/20 Provident           LGS LP Operating           $    50,000.00
                                                   04/13/20 Provident           LGS LP Operating           $    50,000.00
                                                   04/17/20 Provident           LGS LP Operating           $    50,000.00
Pollack Solomon Duffy Total                                                                                $   150,000.00
Murtha Cullina                                          6/4   Citizens           Main Operating            $    10,000.00
                                                        6/8   Citizens           Main Operating            $    20,000.00
                                                       6/10   Citizens           Main Operating            $    20,000.00
                                                       6/15   Citizens           Main Operating            $    30,000.00
                                                       6/19   Citizens                                     $    51,942.00
Murtha Cullina Total                                                                                       $   131,942.00
South Carolina                                         6/15     Citizens                                   $   105,376.61
South Carolina Total                                                                                       $   105,376.61
The Hartford                                       04/14/20 Provident           LGS LP Operating           $    38,636.01
                                                       6/15 Citizens                                       $    56,913.00
The Hartford Total                                                                                         $    95,549.01
US Officials                                       02/28/20 Provident      GPS-Massachusetts Operating     $    70,000.00
US Officials Total                                                                                         $    70,000.00
Ignite                                             03/27/20 Provident           LGS LP Operating           $    34,725.00
                                                   04/30/20 Provident           LGS LP Operating           $    12,534.38
                                                   05/22/20 Provident           LGS LP Operating           $     8,250.00
                                                       6/15 Citizens                                       $    10,500.00
Ignite Total                                                                                               $    66,009.38
TAP Portugal                                       03/05/20 Provident           LGS LP Operating           $    59,512.32
TAP Portugal Total                                                                                         $    59,512.32
Stephen Griffin                                    04/17/20 Provident           LGS LP Operating           $    14,583.33
                                                   05/08/20 Citizens             Main Operating            $    14,583.33
                                                   05/15/20 Citizens             Main Operating            $    14,583.33
                                                   05/29/20 Citizens             Main Operating            $    14,583.33
Stephen Griffin Total                                                                                      $    58,333.32
Wide World of Indoor Sports                        02/28/20 Provident           GPS-Rhode Island           $    27,409.25
                                                   03/10/20 Provident           GPS-Rhode Island           $    27,409.25
Wide World of Indoor Sports Total                                                                          $    54,818.50
Referees Crease                                    03/05/20 Provident           LGS LP Operating           $    52,928.00
Referees Crease Total                                                                                      $    52,928.00
Innovative V LLC                                   03/03/20 Provident           PSE LLC Operating          $    52,450.00



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Innovative V LLC Total                                                                                           $   52,450.00
Caribbean Connection Foundation                           05/01/20   Citizens     DBA Global Premier Soccer      $   20,000.00
                                                          05/11/20   Citizens     DBA Global Premier Soccer      $   20,000.00
                                                          05/19/20   Citizens     DBA Global Premier Soccer      $   10,818.29
Caribbean Connection Foundation Total                                                                            $   50,818.29
Stout Risius Ross                                         06/01/20   Citizens          Main Operating            $   50,000.00
Stout Risius Ross Total                                                                                          $   50,000.00
Sard Verbinnen                                            05/29/20   Citizens          Main Operating            $   50,000.00
Sard Verbinnen Total                                                                                             $   50,000.00
US Officials LLC                                          04/01/20   Provident   GPS-Massachusetts Operating     $   12,000.00
                                                          04/10/20   Provident   GPS-Massachusetts Operating     $   11,241.33
                                                          04/17/20   Provident   GPS-Massachusetts Operating     $   11,241.33
                                                          04/24/20   Provident   GPS-Massachusetts Operating     $   11,437.16
US Officials LLC Total                                                                                           $   45,919.82
Foxboro Sports Center                                     03/06/20 Provident          LGS LP Operating           $   40,485.00
Foxboro Sports Center Total                                                                                      $   40,485.00
United States Hockey League                               03/06/20 Provident          PSE LLC Operating          $   39,480.00
United States Hockey League Total                                                                                $   39,480.00
Great Lakes Sports City dba Frasier Hockeyland            03/05/20 Provident          LGS LP Operating           $   39,337.50
Great Lakes Sports City dba Frasier Hockeyland Total                                                             $   39,337.50
Philadelphia Insurance                                    02/25/20 Provident          LGS LP Operating           $    5,878.00
                                                          03/23/20 Provident          LGS LP Operating           $   25,280.13
                                                          03/24/20 Provident          LGS LP Operating           $    7,507.34
Philadelphia Insurance Total                                                                                     $   38,665.47
Advent Health Center Ice                                  03/10/20 Provident          LGS LP Operating           $   37,350.71
Advent Health Center Ice Total                                                                                   $   37,350.71
Richmond Strikers Soccer Club                             02/28/20 Provident     GPS-Massachusetts Operating     $   34,350.00
Richmond Strikers Soccer Club Total                                                                              $   34,350.00
Back River Sports Complex                                 05/29/20   Citizens     DBA Global Premier Soccer      $   33,660.00
Back River Sports Complex Total                                                                                  $   33,660.00
GPS Spain                                                 03/12/20 Provident     GPS-Massachusetts Operating     $   33,580.00
GPS Spain Total                                                                                                  $   33,580.00
The Athletic Campus, LLC                                  02/20/20 Provident            GPS-New York             $   32,673.34
The Athletic Campus, LLC Total                                                                                   $   32,673.34
The Atlantic Club, Inc.                                   03/04/20 Provident          LGS LP Operating           $   31,500.00


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The Atlantic Club, Inc. Total                                                                              $   31,500.00
College Life Italia                                  03/06/20 Provident    GPS-Massachusetts Operating     $   11,507.28
                                                     03/16/20 Provident    GPS-Massachusetts Operating     $   11,507.28
                                                     05/05/20 Provident    GPS-Massachusetts Operating     $    8,280.17
College Life Italia Total                                                                                  $   31,294.73
Wework                                               03/03/20 Provident         LGS LP Operating           $   25,637.70
                                                     03/09/20 Provident         LGS LP Operating           $    4,770.00
Wework Total                                                                                               $   30,407.70
City of Rochester                                    03/04/20 Provident           GPS-New York             $   29,041.50
City of Rochester Total                                                                                    $   29,041.50
City of Trenton                                      02/28/20 Provident         LGS LP Operating           $   27,040.00
City of Trenton Total                                                                                      $   27,040.00
BDO                                                  03/17/20 Provident         LGS LP Operating           $   26,500.00
BDO Total                                                                                                  $   26,500.00
NESV Ice LLC                                         03/16/20 Provident         LGS LP Operating           $   21,937.50
NESV Ice LLC Total                                                                                         $   21,937.50
UPMC Lemieux Sports Complex                          02/24/20 Provident         LGS LP Operating           $   21,690.00
UPMC Lemieux Sports Complex Total                                                                          $   21,690.00
Lime Management Worldwide Limited                    03/05/20 Provident         LGS LP Operating           $   21,167.23
Lime Management Worldwide Limited Total                                                                    $   21,167.23
Express Management Rodman Arena                      02/25/20 Provident         LGS LP Operating           $   20,677.50
Express Management Rodman Arena Total                                                                      $   20,677.50
Quadal Advisors                                      04/10/20 Provident         LGS LP Operating           $   20,000.00
Quadal Advisors Total                                                                                      $   20,000.00
Stretto                                              05/29/20   Citizens         Main Operating            $   20,000.00
Stretto Total                                                                                              $   20,000.00
STEPS Lacrosse                                       02/25/20 Provident         LGS LP Operating           $   19,600.00
STEPS Lacrosse Total                                                                                       $   19,600.00
The Thruway Soccer League                            02/24/20 Provident           GPS-New York             $   18,793.00
The Thruway Soccer League Total                                                                            $   18,793.00
Portland Sports Complex                              05/29/20   Citizens    DBA Global Premier Soccer      $    9,375.00
                                                     06/03/20   Citizens    DBA Global Premier Soccer      $    9,375.00
Portland Sports Complex Total                                                                              $   18,750.00
Pinnacle Athletics LLC                               03/17/20 Provident           GPS-New York             $   17,456.00
Pinnacle Athletics LLC Total                                                                               $   17,456.00


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Union Point Sports, LLC                              06/01/20   Citizens    DBA Global Premier Soccer      $   17,145.00
Union Point Sports, LLC Total                                                                              $   17,145.00
Northeast Futsal Fest                                05/22/20 Provident    GPS-Massachusetts Operating     $   16,981.93
Northeast Futsal Fest Total                                                                                $   16,981.93
Halperin Battaglia                                   06/04/20   Citizens         Main Operating            $   15,000.00
Halperin Battaglia Total                                                                                   $   15,000.00
City of Taylor                                       03/23/20 Provident         LGS LP Operating           $   13,807.50
City of Taylor Total                                                                                       $   13,807.50
City of Cranston Ice Rink                            03/06/20 Provident         LGS LP Operating           $   13,750.00
City of Cranston Ice Rink Total                                                                            $   13,750.00
US Performance Academy                               04/01/20 Provident    GPS-Massachusetts Operating     $    6,719.00
                                                     04/17/20 Provident    GPS-Massachusetts Operating     $    6,718.50
US Performance Academy Total                                                                               $   13,437.50
Tyngsboro Sports Center                              05/29/20   Citizens    DBA Global Premier Soccer      $   12,948.00
Tyngsboro Sports Center Total                                                                              $   12,948.00
Hampshire Hills Athletic Club                        03/04/20 Provident        GPS-New Hampshire           $   12,875.00
Hampshire Hills Athletic Club Total                                                                        $   12,875.00
Danvers Indoor Sports                                02/27/20 Provident    GPS-Massachusetts Operating     $   12,300.00
Danvers Indoor Sports Total                                                                                $   12,300.00
CT Rush Soccer LLC                                   03/24/20 Provident         GPS-Rhode Island           $   11,600.00
CT Rush Soccer LLC Total                                                                                   $   11,600.00
Christian Brothers institute of MA                   06/01/20   Citizens    DBA Global Premier Soccer      $   11,000.00
Christian Brothers institute of MA Total                                                                   $   11,000.00
Bosse Framingham                                     05/29/20   Citizens    DBA Global Premier Soccer      $   10,894.06
Bosse Framingham Total                                                                                     $   10,894.06
State of Vermont Taxes                               06/01/20 Provident         LGS LP Operating           $   10,278.41
State of Vermont Taxes Total                                                                               $   10,278.41
Sport Plex Metuchen Group                            03/24/20 Provident         LGS LP Operating           $   10,249.98
Sport Plex Metuchen Group Total                                                                            $   10,249.98
GotSoccer LLC                                        05/29/20 Provident    GPS-Massachusetts Operating     $   10,139.05
GotSoccer LLC Total                                                                                        $   10,139.05
Pinnac;e Athletics                                   03/03/20 Provident           GPS-New York             $   10,125.00
Pinnac;e Athletics Total                                                                                   $   10,125.00
Aquinas Institute                                    03/31/20 Provident           GPS-New York             $   10,000.00
Aquinas Institute Total                                                                                    $   10,000.00


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Town of Weymouth                                        06/01/20   Citizens    DBA Global Premier Soccer      $ 10,000.00
Town of Weymouth Total                                                                                        $ 10,000.00
Massachusetts Youth Soccer Association                  05/29/20   Citizens    DBA Global Premier Soccer      $ 9,796.09
Massachusetts Youth Soccer Association Total                                                                  $ 9,796.09
Fore Kicks II LP                                        05/29/20   Citizens    DBA Global Premier Soccer      $ 9,550.00
Fore Kicks II LP Total                                                                                        $ 9,550.00
Cortland Capital Market Services                        05/07/20 Provident         LGS LP Operating           $ 8,750.00
Cortland Capital Market Services Total                                                                        $ 8,750.00
Usports                                                 03/02/20 Provident    GPS-Massachusetts Operating     $ 8,611.18
Usports Total                                                                                                 $ 8,611.18
Huskies Hockey Club                                     05/18/20 Provident         LGS LP Operating           $ 8,500.00
Huskies Hockey Club Total                                                                                     $ 8,500.00
Marina Bay Sportsplex LLC                               06/05/20 Provident    GPS-Massachusetts Operating     $ 8,000.00
Marina Bay Sportsplex LLC Total                                                                               $ 8,000.00
CDYSL                                                   03/23/20 Provident           GPS-New York             $ 7,580.00
CDYSL Total                                                                                                   $ 7,580.00




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                                       Appendix to SOFA Question No. 4
                                       Transfers to Insiders Within 1 Year
Name and Address of Recipient       Amount of Money         Dates     Reason for providing     Relationship to
                                                                             value                 debtor
Jefferson River Capital, LLC            $110,456           6/27/19     Reimbursement of        Secured Creditor/
1330 Avenue of the Americas                                              Expenses and           Equity Owner
New York, NY 10019                                                       Monitoring Fee

Joseph M. Bradley                      $87,307.76          Various         Owner Draw/          Executive Staff
                                                                          Compensation
Keith Caldwell                         $67,667.40          Various     Salary/Compensation          Officer

Derek Irwin                            $29,166.62          Various     Salary/Compensation          Officer

Stephen Griffin                        $308,710.08         Various     Salary/Compensation          Officer

Laura McLaughlin                       $219,119.22         Various     Salary/Compensation          Officer

Philip Silveira                        $92,339.91          Various     Salary/Compensation          Officer
77 Sleeper Street
Boston, MA 02210




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                                                                                      Appendix to SOFA Question No. 7
                                                                                         List of Legal Actions, etc.

    Plaintiff / Potential Plaintiff      Counsel (or potential plaintiff's         Caption (if filed)             Venue                             Nature of Case                                   Status
                                                 contact info)
Department of Justice                                                                                                               Investigation into potential visa fraud by former
                                                                                                                                    officers




New York State Department of Labor Paul Appleby                            Case No. LS09 2019005196       NY Department of          Complaint to NY Department of Labor by              5/15/20 - Settlement for $40,000
                                   Senior Labor Standards Investigator                                    Labor                     Given Simphiwe Maqubela for alleged                 (payble in monthly installments
Claimant: Given Maqubela           New York State Department of Labor,                                                              violations of New York State Wage and Hour          beginning 6/15/20)
                                   Division of Labor Standards                                                                      Laws for failure to pay minimum wage and
                                   Walter J. Mahoney State Office Building                                                          overtime.
                                   65 Court Street, Room 202
                                   Buffalo, NY 14202
                                   paul.appleby@labor.ny.gov

                                      Claimant's counsel:
                                      Rebecca R. Cohen
                                      Bousquet Holstein PLLC
                                      110 West Fayette Street
                                      One Lincoln Center, Suite 1000
                                      Syracuse, NY 13202-1190
                                      rcohen@bhlawpllc.com


Richard T. Nilsson                    Richard T. Nilsson                     Nilsson v. Global Premier     Massachusetts Superior   Complaint for defamation, intentional infliction 9/10/19 - Complaint filed.
                                      49 Russell Road                        Soccer, LLC, Peter Bradley,   Court, Middlesex         of emotional distress, loss of consortium
                                      Somerville, MA 02144                   GPS Coaches (former) David, County                     based on alleged statements made by Bradley *As far as we are aware,
                                                                             Adam and Connor, Civil Action                          and other GPS coaches and subsequent             complaint has not been served.
                                      (Complaint filed pro se )              No. 1981CV02663                                        alleged wrongful dismissal.




Jeff Lukasak                          U.S. Equal Employment Opportunity      Charge: 471-2020-02111       U.S. Equal Employment Charge of Discrimination claiming company               3/4/20 - Lukasak filed EEOC
                                      Commission                                                          Opportunity           targeted Lukasak for sham investigation and             complaint against PSE and LGS.
                                      Detroit Field Office                                                Commission            fired him because of gender.
                                      477 Michigan Avenue                                                                                                                               4/13/20 - EEOC position
                                      Room 865                                                                                                                                          statement filed by PSE and LGS.
                                      Detroit, MI 48226
                                      Attn: Deanna Wooten
                                      deanna.wooten@eeoc.gov

Darla Pires DeGrace                   Freya Shoffner                                                                                Claims by independent contractor for payment 4/13/20 - Letter from Ms.
                                      Shoffner & Associates                                                                         of outstanding invoices. Total amount:       DeGrace to Legacy Global Sports
                                      800 Boylston Street, Suite 1600                                                               $38,219.04 (excluded pending fees)           demanding full payment within 5
                                      Boston, MA 02199-8034                                                                                                                      days.
                                      skstein@shoffnerassociates.com
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Josh Akright              Roland Baggott                                                    Claim for constructive discharge                4/21/20 - Letter providing formal
                          Baggott Law                                                                                                       Notice of Default with respect to
                          4525 Harding Rd., Suite 105                                                                                       Employment Agreement,
                          Nashville, TN 37205                                                                                               Purchase and Sale Agreement,
                          roland@baggottlaw.com                                                                                             Promissory Note.

                                                                                                                                            5/1/20 - Letter demanding
                                                                                                                                            Separation Notice, payment of
                                                                                                                                            compensation due and owing,
                                                                                                                                            threatening to file complaints with
                                                                                                                                            Departments of Labor.

                                                                                                                                            5/11/20 - LGS letter re
                                                                                                                                            considering Akright's departure
                                                                                                                                            voluntary separation.

                                                                                                                                            5/14/20 - Letter from Akright re
                                                                                                                                            settlement demand.

                                                                                                                                            5/18/20 - Cease and desist letter
                                                                                                                                            to Akright re non-competition, non-
                                                                                                                                            solicitation covenants.

                                                                                                                                            5/18/20 - Letter to Akright re
                                                                                                                                            settlement communication.

Ronald Cain               Joseph G. Talbot                                                  Demand for payment and indemnification          5/13/20 - Demand Letter to
                          Perkins Thompson                                                  under Partnership Agreement. Demand for         Legacy Global Sports, L.P. for
                          One Canal Plaza                                                   payment of legal fees incurred in Legacy        payment of $8,847.50.
                          PO Box 426                                                        Global Sports, L.P. v. John St. Pierre et al,
                          Portland, Me 04112-0426                                           Docket No. 18-2019-CV-198.
                          jtalbot@perkinsthompson.com
Cyclones Amateur Hockey   Tom Baginski                                                      Demand for refund of registration fee of        5/9/20 - Email from Carleen Jany
Association               President                                                         $11,200 for Chicago Shootout.                   requesting refund.
                          Cyclones Amateur Hockey Association
                          1996 S. Kirk Road                                                                                                 5/20/20 - Email from Tom
                          Geneva, IL 60134                                                                                                  Baginski (President of Cyclones)
                          bagservice1@gmail.com                                                                                             to J. Globke, P. Silveira, S.
                                                                                                                                            Griffin, J. Shields stating he will
                                                                                                                                            include them in any legal
                                                                                                                                            proceedings.

                                                                                                                                            5/21/20 - Email from Tom
                                                                                                                                            Baginski stating the matter is
                                                                                                                                            going to club attorney to seek
                                                                                                                                            legal remedy.
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Michigan Department of Labor and   Tara Bride                            Claim # 206857                   State of Michigan       Claim for unpaid bonus of %10,506.00 (10% of 5/18/20 - Claim Notice from LEO
Economic Opportunity               Assigned Investigator                                                  Department of Labor     salary) for 2019.                            for alleged violation of Michigan
                                   State of Michigan Department of Labor                                  and Economic                                                         Payment of Wages and Fringe
Joseph Templin                     and Economic Opportunity                                               Opportunity - Lansing                                                Benefits Act, P.A. 390 of 1978,
                                   2407 N. Grand River                                                                                                                         MCL 408.471 et seq.
                                   Lansing, MI 48906
                                   bridet@michigan.gov                                                                                                                          5/28/20 - Due Date for Response.

                                   Joseph Templin
                                   2950 W. Square Lake Rd. Suite 101
                                   Troy, MI 48098
                                   jtemplin@legacyglobalsports.com

Stephen Joyce                      Stephen Joyce                                                          Complaint submitted to Claim for unpaid bonus of $7,330.00 (10% of    5/21/20 - Email from S. Joyce to
                                   sjoyce@legacyglobalsports.com                                          Massachusetts Attorney salary) for 2019.                              L. McLaughlin notifying that he
                                                                                                          General                                                               submitted workplace complaint
                                                                                                                                                                                with Massachusetts AG office.


Paul Maciejewski                   Paul Maciejewski                                                                               Claim for unpaid bonus of $6,403.02 for 2019. 5/25/20 - Email from P.
                                   Legacy Global Sports                                                                                                                         Maciejewski asking about bonus.
                                   2700 Brighton Henrietta Town Line Rd.
                                   Rochester, NY 14623                                                                                                                          Note: He did not specifically
                                   pmaciejewski@legacyglobalsports.com                                                                                                          threaten litigation.


Robert Stephen                     Robert S. Stephen                       Robert Stephen v. Back River   New Hampshire           Demand for refund of fees for sons for        Complaint filed.
                                   Stephen Law Group, PLLC                 Sports Complex, LLC and        Superior Court,         2019/2020 season. Claim under New
                                   582 Chestnut Street                     Global Premier Soccer          Hillsborough            Hampshire Consumer Protection Statute
                                   Manchester, NH 03104                                                                           (treble damages, interest and costs).
                                   rob@stephenlaw.com                                                                             Amount demanded in complaint: $15,000



Michigan Department of Labor and   Tara Bride                            Claim # 206867                   State of Michigan       Claim for unpaid bonus of $18,690.00 (10% of 5/22/20 - Claim Notice from LEO
Economic Opportunity               Assigned Investigator                                                  Department of Labor     salary) for 2019.                            for alleged violation of Michigan
                                   State of Michigan Department of Labor                                  and Economic                                                         Payment of Wages and Fringe
Sasha Ristic                       and Economic Opportunity                                               Opportunity - Lansing                                                Benefits Act, P.A. 390 of 1978,
                                   2407 N. Grand River                                                                                                                         MCL 408.471 et seq.
                                   Lansing, MI 48906                                                                                                                           (Received scanned version of
                                   bridet@michigan.gov                                                                                                                         notice on 6/5)

                                   Sasha Ristic                                                                                                                                 6/1/20 - Due Date for Response.



Minnesota Generals AAA Hockey      Paul Bajda                                                                                     Request for refund                            6/9/20 - email from P. Bajda
Club                               paul@minnesotagenerals.com                                                                                                                   requesting refund, indicating they
                                                                                                                                                                                will wait until 6/15 for response
                                   Mike Engstrom                                                                                                                                and then take legal action, etc.
                                   mike@minnesotagenerals.com
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Complaints Filed by the Debtor or On Debtor’s Behalf




 Defendant / Potential Defendant            Counsel                     Caption (if filed)         Venue                                Nature of Case                                       Status
Joseph Bradley                   Mary Katherine Geraghty          LGS Management, LLC v.     JAMS arbitration     Based on acquisition of GPS                                 Filed demand in December; have
                                 Burns & Levinson, LLP            Joseph Bradley and Peter   Portsmouth, NH       Fraudulent inducement.                                      agreed to push selecting arbitrator
Peter Bradley                    125 High Street                  Bradley                                         Breaches of fiduciary duty by Joe Bradley as CEO of GPS. thus far; would rather see him
                                 Boston, MA 02110                                                                                                                             criminally charged; had to file
                                 mgeraghty@burnslev.com                                                           Claims that Bradleys hid illegal conduct (visa fraud, etc.) because of S/L (had had tolling
                                                                                                                  from Legacy when selling 80% interest in GPS to Legacy agreements but other side refused
                                                                                                                  and then after acquisition, conducted outside of GPS by     to renew).
                                                                                                                  forming businesses to exclusion and at expense of GPS.

                                                                                                                  Alleged fraudulent concealment of extent of violation of
                                                                                                                  federal immigration laws.

                                                                                                                  Company's financial statmeents overstated revenue,
                                                                                                                  understated expenses, mistated value of Company's
                                                                                                                  assets and operations.

                                                                                                                  Unlawful activity has led to federal grand jury investigation,
                                                                                                                  search warrant executed.




Surf Cup Sports, LLC d/b/a New    Charlotte Marie Petilla         Massachusetts Premier      US District Court for Claims based on alleged conversion of GPS's social media Done; never quantified in terms of
England Surf Soccer Club, South   C. Max Perlman                  Soccer, LLC v. Surf Cup    the District of       pages. Claims include false advertising and promotion,   damages
Carolina Soccer Club and San      Hirsch Roberts Weinstein LLP    Sports, LLC et al          Massachusetts         tortious interference, breach of non-competition
Diego Surf Soccer Club            24 Federal Street, 12th Floor   20-cv-10430                                      obligations, conspiracy, unfair and deceptive trade      4/3/20 - Settlement Agreement
                                  Boston, MA 02110                                                                 practices, unfair competition.
Luke Krawczyk                     max@hrwlawyers.com                                                                                                                        4/10/20 - Notice of Voluntary
                                  cpetilla@hrwlawyers.com                                                                                                                   Dismissal of all claims with
Andrew Prosser                    (Counsel for Surf Cup Sports,                                                                                                             prejudice
                                  LLC)

                                  Christopher W. Sanzone
                                  Sanzone & McCarthy LLP
                                  981 Worcester St, Suite 1A
                                  Wellesley, MA 02482
                                  chris@sanzonemccarthy.com
                                  (Counsel for Krawczyk and
                                  Prosser)
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Burns & Levinson                  Matthew C. Moschella             Massachusetts Premier        Massachusetts        Claims for legal malpractice based on alleged                   2/18/2020 - Amended Complaint
                                  Christopher Blazejewski          Soccer LLC d/b/a Global      Superior Court,      representation of other parties in matters adverse to GPS's
Thomas T. Reith                   Sherin and Lodgen LLP            Premier Soccer v. Burns &    Suffolk County       interests while GPS was current and former client; failing to   5/01/20 - Voluntary Dimissal of
                                  101 Federal Street               Levinson LLP, Thomas T.                           use due care in legal advice to GPS. Claim for excessive        Count III (Injunctive Relief) in part
Mary Katherine Geraghty           Boston, MA 02110                 Reith, Mary Katherine                             and unreasonable billing.                                       as result of resolution of case
                                  mcmoschella@sherin.com           Geraghty, and Perry A.                                                                                            against Surf et al.
Perry A. Henderson Jr. a/k/a Andy cblazejewski@sherin.com          Henderson Jr. a/k/a "Andy
Henderson                                                          Henderson"                                                                                                        5/18/20 - Burns & Levinson
                                                                   2084CV00398                                                                                                       Opposition to Plaintiff's Emergency
                                                                                                                                                                                     Motion for Expedited Discovery of
                                                                                                                                                                                     Plaintiff's Client Files

                                                                                                                                                                                     5/19/20 - Plaintiff's Reply in Further
                                                                                                                                                                                     Support of Motion for Expedited
                                                                                                                                                                                     Discovery Concerning Plaintiff's
                                                                                                                                                                                     Client Files


John St. Pierre                    Christopher H.M. Carter         Legacy Global Sports, L.P. v. Superior Court of   Claims that defendants engaged in competitive business          Defendant filed TRO; denied
                                   Daniel M. Deschenes             John St. Pierre, Travis Bezio New Hampshire,      activity (development of ice rinks and youth hockey             9/17/2019
Travis Bezio                       Owen R. Graham                  and North Atlantic Hockey,    Merrimack County    programs in violation of noncompete).
                                   Hinckley Allen                  LLC d/b/a The Rinks at Exeter                                                                                     Plaintiff filed TRO; denied
North Atlantic Hockey, LLC d/b/a   650 Elm Street, Suite 500                                                         Claim for breach of fiduciary duty against St. Pierre and       11/21/2019
The Rinks at Exeter                Manchester, NH 03101            218-2019-CV-00198                                 Rinks at Exeter.
                                   ccarter@hinckleyallen.com                                                                                                                         12/18/2019 - Second Amended
                                   ddeschenes@hinckleyallen.com                                                      Claim for breach of fiduciary duty of loyalty against Bezio     Complaint
                                   ograham@hinckleyallen.com                                                         and Rinks at Exeter.
                                   (Counsel for St. Pierre)                                                                                                                          12/30/2019 - Bezio Answer and
                                                                                                                                                                                     Counterclaims
                                   Arnold Rosenblatt
                                   Kathleen M. Mahan                                                                                                                                 12/31/2019 - St. Pierre Answer &
                                   Cook, Little, Rosenblatt &                                                                                                                        Counterclaims
                                   Manson, PLLC
                                   1000 Elm Street, 20th Floor                                                                                                                       4/27/20 - Order on motions to
                                   Manchester, NH 03101                                                                                                                              dismiss - motions granted in part
                                   a.rosenblatt@clrm.com                                                                                                                             and denied in part (dismissing all
                                   k.mahan@clrm.com                                                                                                                                  claims against The Rinks)
                                   (Counsel for Travis Bezio and
                                   Rinks at Exeter)                                                                                                                                  5/6/2020 - Plaintiff filed motion to
                                                                                                                                                                                     reconsider dismissal of claims vs.
                                                                                                                                                                                     The Rinks
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                                            Appendix to SOFA Question No. 18
                                                 List of Closed Accounts

                                                                                        Last 4 Digits of     Date Account
Debtor Name                                    Name of Institution   Type of Account   Account Number         Was Closed
Premier Sports Events, LLC                       Provident Bank         Operating            x1712            6/15/2020
Massachusetts Premier Soccer, LLC                Provident Bank         Operating            x0540            6/17/2020
Rhode Island Premier Soccer                      Provident Bank         Operating            x8700            4/24/2020
Legacy Global Sports, L.P.                       Provident Bank         Operating            x2384             4/5/2020
Florida Premier Soccer, LLC                      Provident Bank         Operating            x8651            5/28/2020
GPS in Vermont, LLC                              Provident Bank         Operating            x8669             4/5/2020
New York Premier Soccier, LLC                    Provident Bank         Operating            x8677             5/4/2020
Maine Premier Soccer, LLC                        Provident Bank         Operating            x8685            4/24/2020
Mass Premier Soccer in New Hampshire, LLC        Provident Bank         Operating            x8693            4/27/2020
Jersey Premier Soccer, LLC                       Provident Bank         Operating            x8718            4/24/2020
Carolina Premier Soccer, LLC                     Provident Bank         Operating            x8726            5/14/2020
Georgia Premier Soccer, LLC                      Provident Bank         Operating            x8734             4/5/2020
Global Premier Soccer California, LLC            Provident Bank         Operating            x8750            4/30/2020
Global Premier Soccer Canada, LLC                Provident Bank         Operating            x8768             4/5/2020
Global Premier Soccer Connecticut, LLC           Provident Bank         Operating            x8776            4/24/2020
Global Premier Soccer Missouri, LLC              Provident Bank         Operating            x8784             4/6/2020
Global Premier Soccer Oregon, LLC                Provident Bank         Operating            x8792            4/24/2020




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                      Appendix to SOFA Question No. 25


 1. Businesses in Which a Debtor Currently Has an Interest

 Debtor                            Business name and address
 Legacy Global Sports LP           1. Legacy Global Lacrosse
                                   2. LGS Europe, AB (Sweden)
                                   3. LGS Manufacturing, LLC
                                   4. LGS Management, LLC
                                   5. LGS Logistics, LLC
                                   6. LGS Team Sales, LLC

 LGS Management, LLC               1. Massachusetts Premier Soccer, LLC

 LGS Logistics, LLC                1. Premier Sports Events, LLC
                                   2. Action Youth. Ltd (UK)
                                   3. Swedsports Tournament & Event, AB
                                      (Sweden)

 Massachusetts Premier Soccer,     1. Maine Premier Soccer LLC
 LLC                               2. Mass Premier Soccer in New Hampshire
                                       LLC
                                   3. Florida Premier Soccer LLC
                                   4. New York Premier Soccer LLC
                                   5. Jersey Premier Soccer LLC
                                   6. GPS in Vermont LLC
                                   7. Rhode Island Premier Soccer LLC
                                   8. Carolina Premier Soccer LLC
                                   9. Georgia Premier Soccer LLC
                                   10. Global Premier Soccer Puerto Rico LLC
                                   11. Global Premier Soccer Canada LLC
                                   12. Global Premier Soccer Oregon LLC
                                   13. Global Premier Soccer California LLC
                                   14. Global Premier Soccer Missouri LLC
                                   15. Global Premier Soccer Connecticut LLC
                                   16. Global Premier Soccer Delaware LLC
                                   17. Global Premier Soccer Michigan LLC
                                   18. Global Premier Soccer Minnesota LLC
                                   19. Global Premier Soccer Ohio LLC
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 2. Businesses in which a Debtor formerly had an interest

 Debtor                            Business name
 Legacy Global Sports, LP          Youth Sports Management, LLC
 LGS Logistics, LLC                LGS Football & Basketball, LLC
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                                 Appendix to SOFA Question No. 28
                                List of Current Officers, Directors, etc.
Debtor                         Name, Address and Position                   Position
Legacy Global Sports LP        Philip Silveira                              Chief Financial Officer
                               77 Sleeper Street
                               Boston, MA 02210

                               David Wittels                                Manager
                               c/o Jefferson River Capital
                               1330 Avenue of the Americas
                               New York, NY 10019

                               Richard Dresdale                             Manager
                               c/o Jefferson River Capital
                               1330 Avenue of the Americas
                               New York, NY 10019

                               Micahel Somma                                Manager
                               c/o Jefferson River Capital
                               1330 Avenue of the Americas
                               New York, NY 10019

                               John Brecker                                 Manager
                               c/o Quadal Advisors
                               305 East 51st Street
                               New York, NY 10022

                               Legacy Global Sports, LLC                    General Partner
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Massachusetts Premier Soccer   David Wittels                             Manager
LLC                            c/o Jefferson River Capital
                               1330 Avenue of the Americas
                               New York, NY 10019

                               Richard Dresdale                          Manager
                               c/o Jefferson River Capital
                               1330 Avenue of the Americas
                               New York, NY 10019

                               Micahel Somma                             Manager
                               c/o Jefferson River Capital
                               1330 Avenue of the Americas
                               New York, NY 10019

                               Joseph Bradley                            Manager


                               Philip Silveira                           Secretary
                               77 Sleeper Street
                               Boston, MA 02210


1. LGS Management LLC          Philip Silveira                           Manager
2. LGS Manufacturing LLC       77 Sleeper Street
3. Legacy Global Lacrosse      Boston, MA 02210
   LLC
4. LGS Logistics LLC
5. LGS Team Sales LLC
6. Premier Sports Events LLC
7. Maine Premier Soccer LLC
8. Mass Premier Soccer in
   New Hampshire LLC
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9. Florida Premier Soccer
    LLC
10. New York Premier Soccer
    LLC
11. Jersey Premier Soccer LLC
12. GPS in Vermont LLC
13. Rhode Island Premier
    Soccer LLC
14. Carolina Premier Soccer
    LLC
15. Georgia Premier Soccer
    LLC
16. Global Premier Soccer
    Puerto Rico LLC
17. Global Premier Soccer
    Canada LLC
18. Global Premier Soccer
    Oregon LLC
19. Global Premier Soccer
    California LLC
20. Global Premier Soccer
    Missouri LLC
21. Global Premier Soccer
    Connecticut LLC
22. Global Premier Soccer
    Delaware LLC
23. Global Premier Soccer
    Michigan LLC
24. Global Premier Soccer
    Minnesota LLC
25. Global Premier Soccer
    Ohio LLC
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                                    Appendix to SOFA Question No. 29
                                   List of Former Officers, Directors, etc.
   Debtor                         Former managers/officers                 Period During Which Position Was Held
   Legacy Global Sports LP        Stephen Griffin, CEO/Manager              Dec. 2018 to March 24, 2020


                                  Luke McCormick, Manager                     Terminated March 24, 2020
                                  c/o Generation Capital
                                  17 Prince Arthur Avenue
                                  3rd Floor
                                  Toronto, ON


                                  Randy Bongarten, Manager                    2019 to March 24, 2020


   Massachusetts Premier Soccer   Stephen Griffin (Chairman)                  Dec. 2018 to March 24, 2020
   LLC

                                  Keith Caldwell, CEO                         Jan. 2020 to June 19, 2020


   Maine Premier Soccer LLC       Paul Baber, Manager                         April 2009 to March 2020


                                  Keith Caldwell, Manager                     Jan. 2020 to June 19, 2020

   Jersey Premier Soccer LLC      Neil Holloway, Manager                      Sept. 2012 to March 2020




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                                 Keith Caldwell, Manager                   Jan. 2020 to June 19, 2020

   1. Mass Premier Soccer in     Joseph Bradley, Manager                   Jan. 2002 to March 2020
       New Hampshire LLC
   2. Florida Premier Soccer
                                 Keith Caldwell, Manager                   Jan. 2020 to June 19, 2020
       LLC
   3. New York Premier Soccer
       LLC
   4. GPS in Vermont LLC
   5. Rhode Island Premier
       Soccer LLC
   6. Carolina Premier Soccer
       LLC
   7. Georgia Premier Soccer
       LLC
   8. Global Premier Soccer
       Puerto Rico LLC
   9. Global Premier Soccer
       Canada LLC
   10. Global Premier soccer
       Oregon LLC
   11. Global Premier Soccer
       California LLC
   12. Global Premier Soccer
       Missouri LLC
   13. Global Premier Soccer
       Connecticut LLC




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                                      Appendix to SOFA Question No. 30
Name and Address of Recipient       Amount of Money         Dates     Reason for providing     Relationship to
                                                                             value                 debtor
Jefferson River Capital, LLC            $110,456           6/27/19     Reimbursement of        Secured Creditor/
1330 Avenue of the Americas                                              Expenses and           Equity Owner
New York, NY 10019                                                       Monitoring Fee

Joseph M. Bradley                      $87,307.76          Various         Owner Draw/          Executive Staff
                                                                          Compensation
Keith Caldwell                         $67,667.40          Various     Salary/Compensation          Officer

Derek Irwin                            $29,166.62          Various     Salary/Compensation          Officer

Stephen Griffin                        $308,710.08         Various     Salary/Compensation          Officer

Laura McLaughlin                       $219,119.22         Various     Salary/Compensation          Officer

Philip Silveira                        $92,339.91          Various     Salary/Compensation          Officer
77 Sleeper Street
Boston, MA 02210




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                    Appendix to SOFA Question No. 31
                       Consolidated Tax Returns
   1. The following debtors have been a member of a consolidated group for tax
      purposes in which Legacy Global Sports, L.P., EIN No. XX-XXXXXXX, was the
      parent:
         a. LGS Management, LLC
         b. LGS Manufacturing, LLC
         c. Legacy Global Lacrosse, LLC
         d. LGS Logistics, LLC
         e. LGS Team Sales, LLC
         f. Premier Sports Events, LLC

   2. The following debtors have been a member of a consolidated group for tax
      purposes in which Massachusetts Premier Soccer, LLC, EIN No. XX-XXXXXXX,
      was the parent:
         a. Maine Premier Soccer, LLC
         b. Mass Premier Soccer in New Hampshire LLC
         c. Florida Premier Soccer LLC
         d. New York Premier Soccer LLC
         e. Jersey Premier Soccer LLC
         f. GPS in Vermont LLC
         g. Rhode Island Premier Soccer LLC
         h. Carolina Premier Soccer LLC
         i. Georgia Premier Soccer LLC
         j. Global Premier Soccer Puerto Rico LLC
         k. Global Premier Soccer Canada LLC
         l. Global Premier Soccer Oregon LLC
         m. Global Premier Soccer California LLC
         n. Global Premier Soccer Missouri, LLC
         o. Global Premier Soccer Connecticut LLC
         p. Global Premier Soccer Delaware LLC
         q. Global Premier Soccer Michigan LLC
         r. Global Premier Soccer Minnesota LLC
         s. Global Premier Soccer Ohio LLC




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